               Case 8:25-cv-00026-SSS-PD                Document 13 Filed 02/26/25                    Page 1 of 5 Page ID
Name and address:
                                                              #:128
                          James K. Rogers
                   America First Legal Foundation
                   611 Pennsylvania Ave., SE #231
                      Washington, D.C. 20003


                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
CITY OF HUNTINGTON BEACH, a California Charter City, et
                                                                          CASE NUMBER
al.
                                            Plaintiff(s),                                           8:25-cv-00026

                  v.
                                                                            APPLICATION OF NON-RESIDENT ATTORNEY
The STATE OF CALIFORNIA, et al.                                                   TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                      PRO HAC VICE
INSTRUCTIONS FOR APPLICANTS
(1) The attorney seeking to appear pro hac vice must complete Section I of this Application, the certification in Section II, and have the
    designated Local Counsel sign in Section III. Space to supplement responses is provided in Section IV. The applicant must also attach a
    Certificate of Good Standing (issued within the last 30 days) from every state bar to which he or she is admitted; failure to do so will be
    grounds for denying the Application. Scan the completed Application, together with any attachment(s), to a single Portable Document
    Format (PDF) file.
(2) Have the designated Local Counsel file the Application electronically using the Court's electronic filing system ("Motions and Related
    Filings => Applications/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach a Proposed Order
    (using Form G-64 ORDER, available from the Court's website), and pay the required $500 fee online at the time of filing (using a credit
    card). The fee is required for each case in which the applicant files an Application. Failure to pay the fee at the time of filing will be
    grounds for denying the Application. Out-of-state federal government attorneys are not required to pay the $500 fee. (Certain
    attorneys for the United States are also exempt from the requirement of applying for pro hac vice status. See L.R. 83-2.1.4.) A copy of the
    G-64 ORDER in Word or WordPerfect format must be emailed to the generic chambers email address. L.R. 5-4.4.2.
SECTION I - INFORMATION
Rogers, James K.
Applicant's Name (Last Name, First Name & Middle Initial)                                        check here if federal government attorney
America First Legal Foundation
Firm/Agency Name
611 Pennsylvania Ave., SE #231                                        (202) 964-3721
                                                                      Telephone Number                       Fax Number
Street Address
Washington, D.C. 20003                                                                      james.rogers@aflegal.org
City, State, Zip Code                                                                              E-mail Address

I have been retained to represent the following parties:
All plaintiffs                                                        ✖   Plaintiff(s)    Defendant(s)      Other:
                                                                          Plaintiff(s)    Defendant(s)      Other:
Name(s) of Party(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                  Name of Court                         Date of Admission           Active Member in Good Standing? (if not, please explain)
Arizona                                                    10-29-2009             Yes
Utah                                                       06/01/2023             Yes
District of Arizona                                        10-29-2009             Yes

G-64 (10/23)              APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                              Page 1 of 3
               Case 8:25-cv-00026-SSS-PD                  Document 13 Filed 02/26/25 Page 2 of 5 Page ID
                                                                     #:129
List all cases in which the applicant has applied to this Court for pro hac vice status in the previous three years (continue in Section IV if
needed):
      Case Number                                      Title of Action                               Date of Application    Granted / Denied?




If any pro hac vice applications submitted within the past three (3) years have been denied by the Court, please explain:




Attorneys must be registered for the Court's electronic filing system to practice pro hac vice in this Court. Submission
of this Application will constitute your registration (or re-registration) to use that system. If the Court signs an Order
granting your Application, visit www.pacer.gov to complete the registration process and activate your e-filing
privileges in the Central District of California.

           SECTION II - CERTIFICATION

           I declare under penalty of perjury that:

           (1) All of the above information is true and correct.
           (2) I am not a resident of the State of California. I am not regularly employed in, or engaged in
               substantial business, professional, or other activities in the State of California.
           (3) I am not currently suspended from and have never been disbarred from practice in any court.
           (4) I am familiar with the Court's Local Civil and Criminal Rules, the Federal Rules of Civil and
               Criminal Procedure, and the Federal Rules of Evidence.
           (5) I designate the attorney listed in Section III below, who is a member in good standing of the Bar
               of this Court and maintains an office in the Central District of California for the practice of law, in
               which the attorney is physically present on a regular basis to conduct business, as local counsel
               pursuant to Local Rule 83-2.1.3.4.

               Dated February 26, 2025                                   James Rogers
                                                                         Applicant's
                                                                         Appl
                                                                            lic
                                                                              ican
                                                                                a t's Name (please
                                                                                           (plleeaase type or print)
                                                                                                              p


                                                                         Applicant's
                                                                         Appl
                                                                            lic
                                                                             icant's Signature
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                                                                                     Si


G-64 (10/23)               APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                               Page 2 of 3
               Case 8:25-cv-00026-SSS-PD             Document 13 Filed 02/26/25                  Page 3 of 5 Page ID
                                                           #:130
SECTION III - DESIGNATION OF LOCAL COUNSEL
Vigliotta, Michael J.
Designee's Name (Last Name, First Name & Middle Initial)
Office of the City Attorney for Huntington Beach
Firm/Agency Name
2000 Main Street                                                  (714) 536-5555
P.O. Box 190                                                      Telephone Number                         Fax Number
Street Address                                                    MVigliotta@surfcity-hb.org
Huntington Beach, CA 92648                                        Email Address
City, State, Zip Code                                             207630
                                                                  Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of perjury that I maintain an office in the
Central District of California for the practice of law, in which I am physically present on a regular basis to conduct business.
               Dated    2/26/25                                   Michael J. Vigliotta
                                                                  Designee's Name (please type or print)


                                                                  Designee's Signature

SECTION IV - SUPPLEMENT ANSWERS HERE (ATTACH ADDITIONAL PAGES IF NECESSARY)

  Additional state and federal court admissions:

  District of Utah      Dec. 1, 2023    Yes
  Ninth Circuit         Sep. 22, 2023   Yes




G-64 (10/23)               APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                      Page 3 of 3
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  February 24, 2025



  James Kenneth Rogers

  SENT VIA ELECTRONIC MAIL ONLY



  RE: Mr. James Kenneth Rogers

  The State Bar of Arizona herewith attests to the status of the above-referenced member, as follows:

          Admitted in Arizona:       October 29, 2009.
          Current Membership Status: Active, in good standing.

  The above reflects the membership records of the State Bar, as of the date of this letter.

  If additional information is required, please contact the Resource Center at (602) 340-7239 or via email at
  membership@staff.azbar.org

  Sincerely,


 Frannie Barrientos
  Resource Center




                   4201 N. 24th Street   Suite 100 Phoenix, AZ 85016-6266
                 PH: 602-252-4804     FAX: 602-271-4930  WEB: www.azbar.org
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           CERTIFICATE OF GOOD STANDING


                                              *This document expires 60 days from the date of issuance*




Issued on 2/24/2025


To Whom it May Concern:


Re: CERTIFICATE OF GOOD STANDING for James K Rogers


This is to certify that James K Rogers, Utah State Bar No. 18783 was admitted to practice law in Utah on
6/1/2023.

James K Rogers is currently an ACTIVE member of the Utah State Bar in good standing. “Good
standing” is defined as a lawyer who is current in the payment of all Bar licensing fees, has met
mandatory continuing legal education requirements, if applicable, and is not disbarred, presently on
probation, suspended, or has not resigned with discipline pending, from the practice of law in this state.




__________________________
Maribeth LeHoux
General Counsel
Utah State Bar




No.2025 -1106479
verify by email at cogsrequest@utahbar.org
